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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

In re:                                             §    Case No. 22-33553
                                                   §
ALEXANDER E. JONES                                 §    (Chapter 11)
                                                   §
           Debtor.                                 §
                                                   §

 ORDER GRANTING APPLICATION FOR ENTRY OF AN ORDER AUTHORIZING
 THE RETENTION AND EMPLOYMENT OF D. R. PAYNE & ASSOCIATES, INC. AS
                     EXPERT FOR THE DEBTOR

           ON THIS DATE, this Court considered the Application for Entry of an Order Authorizing

the Retention and Employment of D. R. Payne & Associates, Inc. as Expert for the Debtor (the

“Application”) filed by the above-captioned case’s (the “Chapter 11 Case”) debtor and debtor-in-

possession (the “Debtor”) for the entry of an order (the “Order”) authorizing the Debtor to retain

and employ D. R. Payne & Associates, Inc. (“DRPA”) as his expert witness, pursuant to sections

105(a), 327, and 1107 of title 11 of the United States Code (the “Bankruptcy Code”), Rule 2014

of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 2014-1 of the

Local Bankruptcy Rules for the Southern District of Texas (the “Local Rules”). Upon review of

the Application and the Declaration of David Payne (the “Payne Declaration”), the Court finds

that it has jurisdiction to grant the relief requested in the Application pursuant to 28 U.S.C. §§

1334 and 157(b)(2).

           The Court further finds that due and adequate notice of the Application was served via the

Court’s electronic transmission facilities and United States First Class Mail upon all necessary

parties.

           The Court further finds that DRPA does not represent or hold any interest adverse to the

Debtor or to the estate with respect to the matter on which it is to be employed in this Chapter 11


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Case pursuant to section 327(e) of the Bankruptcy Code.

       IT IS THEREFORE,

       ORDERED that the Application is hereby GRANTED; and it is further

       ORDERED that the Debtor is authorized to employ and retain DRPA as his expert witness,

effective January 16, 2024; it is further

       ORDERED the retainer disclosed in the Application is approved. Notwithstanding

anything to the contrary in the Application, any engagement letter with Debtor, or the declarations

attached to the Application, DRPA will maintain the retainer until the conclusion of its

representation of Debtor in this case, at which time DRPA will apply the retainer as approved by

the Court to its final invoices or otherwise return the amount by which any such retainer exceeds

such Court approved fees, expenses and costs to the Debtor; it is further

       ORDERED that DRPA shall be compensated in accordance with procedures set forth in

the Application and such procedures as may be fixed by order of this Court.



Dated: ________________________, 2024



                                             ______________________________________
                                             UNITED STATES BANKRUPTCY JUDGE




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